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                        UNITED STATES BANKRUPTCY COLIRT
                          SOUTHERN DISTRICT OF F'LORIDA

In Re: Sharvn Thompson                                    Case Num ber: I 7 -23640   -El'K
      Marcen Morris                                       Chapter 13

     Debtor(s)


                   DBBTOR'S MOTION TO MODIFY CHAPTER 13 PLAN

       COMIES NOW THE DEBTORS, Sharvn Thompson and Marcen Morris, by                 anLd
       throurgh the undersigned attorney and states as follows:

1.     The Debtors filed for Chapter 13 protection on November 10,2017.

2.     After the confirmation of l)ebtors' Chapter 13 Plan, the Chapter 13 Trustee fil,ed   a
       Notice of Delinquency stating that the Debtors were late in their Chapter 13 Plan
       Payments.

3.     The Debtors' delinquency was caused by a slowdown in their employment which has
       been positively resolved.

4.     The Debtors wish to modifl'their plan to comply with the Confirmation Order.

5.     Modification of the plan will not adversely affect any creditors. (Proposed planL
       attaclhed as Exhibit A).

6.     That the undersigned has spent a considerable amount of time in the preparation and
       filing of this instant motion and plan and will be required to attend at least one
       hearing on the same.


      WHI]REFORE, the Debtors respectfully prays that this Honourable Court will allow
the modification of the Chapter 13 Plan.

                               CERTIFICATE OF SERVICE

       I HEIREBY CERTIFY that a true copy of this motion and the notice of hearing were
served by Electronic & US Mail on all interested parties on March 7,2019.
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                              Respectfully   Su bm   itted,


                              coNwADE D. LEWIS, P.A.
                              3500 North State Road 7, Suite 440
                              Lauderdale Lakes. FL 33319
                              (9s4)714-1011 tel
                              (951) 714-l0zll fax
                              lrvlewis(a)aol.com

                         By: /s/ Conwade D. Lewis
                             Conwade D. Lewis, Esq.
                             F-lorida Bar No.: 0968455
                                                       Case 17-23640-EPK                     Doc 53                     Filed 03/07/19                            Page 3 of 6

                                                  IJNITED STATES BANKRTIPTC-Y COTIRT, SOIJTHERN
                                                                                                DISTRICT OF FLORIDA
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                                        n                                                    Orisinaj ['lan

                                        []                                                   Amcnded Plan (lndicatc lst, 2nd. etc, Arnended, if applicable)

                                        E    f-i rst                                         Modifled Plan (lndicate lst, 2nd, etc. Modified, if applicable)
  DEBTOR: Shawn Thompson                                                       JOINI' DEBTOR:                   N,larcen N,forris                                      CASEI NO.: 17-23610
  SS#: xxx-xx- 5881
  I.                 NAIIEES
                     'fo Debtors:
                                                 Plans that do not comply q'ith local rules attd juclicial lulings nray
                                                                                                                        not be contlrnrable. All plans, a6eldecl plans
                                                 and modifled plans shall be served upon all creclitols and a certiflcate
                                                                                                                            of service filed with the Clerk purs*anr ro
                                                 Local Rules 2002-l (cX5),3(ll-5-l(B)(2), and -1015-2. Debtor(s) must commence
                                                                                                                                          plan payments within 30 days                                            of
                                                 filing the chapter l3 petition or within 30 days of entry of the order convertir.rg the
                                                                                                                                           case tochapter 13.
                     To Clreditors:              Your rights l.nay be affected hy this plan You nrust file a tirncly proof of
                                                                                                                                   claim in orcier to be paid, your c:laim nrar.
                                                 be reduced,  modified or elirninated.
                     -l'o                        -fhe
                            All   Parties             plan cotltaitls no nonstatl(lal'd provisions other than those sct
                                                                                                                          out in pafagfaph VIII. Debtor(s)nrusr cnech: o'e
                                                 box on each line listed belor'r'irr this section rc) state rvhcther the plan includes
                                                                                                                                        any o1 the fbllowirrg:
r-,;---
   rle \atUatron
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                 ol a secu|ed claim. set oLrt in Section lll, which rrav r.esult
                 -
   partlal payment of no pa),txent at allto the secured creditor
                                                                                                                        rrr a
                                                                                                                                                                                                    I-l Not irclude<i      j


   Avoidance of a judicial lien or nonpossessory, nonpurol,usir'otrey                                          ;;*-ry *t.*rt,              s.1                                                      _        --]
   out in Section III                                                                                                                                              n       Included              E i Not included
   Nonstandard provisions, liet out in Section                         VIII                                                                                                                     :lr                        ]




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                 A'         MQNTIBLY'rPI=A\lPA-YUENI: Tliis Plan pals tbr the benellt o1'tlrc cleclitors the anrounts listecl belou,, incl,rding trustee's
                            fees of l0%, Lreginning 30 days fiom the filingr'conversion clate. In the event
                                                                                                            the trustee does not retain the fLrll l0%, any unuser1
                            amount      will   be paid to unsecured nonpriorify creditors pro-rata under the plan:



                             l.     $1.213.tt1                  1'or nronths   _.        I        to




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                                                                fbr nrontlrs                                            cllr


                 B.         D EtsTO     R(!lt,1TTQR|L.EY_S_ErE:                                                  l_l    roxn               n      PRo BONO
           'J'otal
                     Irees:                    $4000.00                Total Paid                             r000.00                      Balance Due:
                                                                                                      $                                                                           $3   000.00
       I   Payable                      $135.!)rl _        /rronth     (Montlrs l-. to- l6 )
           Payable                      $91.67             r'ntonth    (Months l7 ttt 2-5                 )



       ]Allowed
                            fees urrder   LR 20 l6-l(BX2) arc iremizcd trcl,J\\:
                            trees   S3-500 r fv,lotion to \/alue ALrro $i00.00
       ]Attorney

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ITI.            TREATMEN-T O]F SECURED CLAIMS                                                                                                                                                                     -t

                A,  StrCI]RT]D CIL.AIMS:           NONE    fl
                [Retain L.iens pursltanrto ]l Ll.S C. $1325 (a)(-5)l\4ortsaseis),rLien on Rcal or Personal Properry:
                B.      L4-1,1,'.!_!ION          Qr!QI-LATE&\_|-: i-l                t,Ctxt.
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                            SECURINC] YOUR T]LAIM IN TI-IE AMOI-INT INDIC]AI'ED. A SEPARATE MO ION \\TILL ALSO BF]SE]RVED TJPON
                            YOU PURSLIANT 1'O BR 7O()4 AN'D I-R 30I5-3.

                            l.    REAL PITOPERT\':              f    NOXE

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                                                      Case 17-23640-EPK                              Doc 53                        Filed 03/07/19                  Page 4 of 6

                                                                                                          Debtor(s)
                                                                                                                                   \U]           t,.glq^.   N,[arcen Morris               Case num    xr:   l'71364(,t
                                2. VEHTCLES(S);                 I     NONI.
                                                                                 -
              I   .    Creditor: Irrnov'ate           I-o;" S.,,                                                                             $ I 2,q50 00                                  tapqrl                            -l
                      Address: 2201 llottie Lynn pkwy                                   Anrount of Creditors                       Lien:         $20,272.00        Total paid in plan:
                                                                                                                                                                                             _-       $1qr349,38
                                     l--orr   \\'orth . TX        76 I 20

           Last 4 Digits of Ac,:ount No.'                                               lrrteresl.   Rate:   S.lA 2                                                    $ l 63.42         lmonth (N,lonlhs I
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           VIN: zl04l
                                                                                                                                                                       $200.00           /rronth (Nlonths _l 7 to 2-.j         l
           Description of Col lreteral
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           2009 Mercedes-Benz                                                                                                                                                                                            _60




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                                incurred      le,ss   than 910 days pr.e-
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            pctltton
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                            3,    PERSOI\.IAL PROPERTY:                          Ir]   XTIXE
                  ci.   _LrE.N4yqr-DaILC_E                      ltl   NoNs
                  D'     SURRIiNDER QF COLLA] lltsAl: Securecl clairrrs filed                                                 b1' any      creditor granted stay relief in thrs section shall nor receive                a
                         distributiotr fi:,nt the (-ltapter li 'l'r-ustee.

                            E    NONE
              E'        -D-IBECT PAIfMENIS: secured clairrrs flled by any creditor grantecl sray relief in this section shall not receivr: a distritrution
                         fonr the Chapter l3 Trustee.

                         f,      NoNe
tv.           TAEATI'{ENIQI' EEES AND PBIQBII-YIL1IMS                                                     las deflned                   in I I l-,S.C i\507 alcj I I    U.S.C].    51   1322(a)1a)l
              A. ADry$LISTIIA1I\|EJEIS QIII-ER                                         II-I.{N DEB.IotsIl--s)IAl.ToxIEY'S E[]E: TI NONF
      I            Narne: Stare of Florida-Dept of llevenue lBankruptcy,)
      t-                                                                                                                                                                                                                       j

                   Paynrent Addres:;: PO Box 8045                                                                                                                                                                              I

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                                                                                                                                                                                                                               I

                   Total Due                              $t.8r5.50
                      Pay able                   s5 r .87               i   nonth (Months            26    to    (r0
      f                                                                                                                        )



              B. INIEBNAL.IIEIENUE .SIEBYI-CE: [i XCINI.
              c. DQUIS]]q IrUTBQRI oRLIGAl'lof (s.): l*i xoNn [_i cunHr.N'f AND                                                                                   pArD oLiTSTDE
                        I       Narns of ('"editor: State Of'Florida-Child Support Errforocntent

                        Payrnent Address: FL. Dept ofRevenue, Rankruptcy
                                          PO Box 8045
                                          J'allahassee, Fl- 323 l4-8Cr'15

                        l-otal Due                        $15.0 r 8.40

                        Payab I e                 $ 1 .14..19               i   nronth ( N4onthsl_    _
                                                                                                                 ro,      I   6     )

                        Payabl e                  $ | 25.00                 irllontlr (Morrths l7                to    25           )

                        Pa,vable                 $ r. r   88.04             /rnonth (iVlonths 26                 to    60           )

                        Regular Payrnr:nt (if             applicable)                5i598.77         /nronth (Months                        I      tol6      )

                        Regular Payment               (if applicablcl                $j488.61         /nronth (Months                       t7      to60      )




                                                                                                          Page   i   oi   l
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                                                                                         f).1'tutr      'r \lr,rrrr.   I   lr'rrrrlrr,\r..   \liirfclt   V\,t.r.l)       f'ase nunt rcr: I 7-2364(.r
                  2,   Nanre o1'Creditor: State of Florida Child Support L.nlbrcenrerrr

                  Pat'rnent Address: FI Dept OfReve nue. I:iankruptcl
                                     PO Box 8045
                                             Taltahassee, FL 323 I 4-9045

                                             $30..1.15 65

                                     $r44 49                    irnonth  1\,lonths l_, to-16_ )
                                                                /rnonth (lvlonths I 7 to 25 )
                                     $785.97                    /nrontlr (Months 26 ro 60 )
                  Regular Payrrrenr     (i   I applicable.t            S0.00             imonth (N4onths
         D. oTHEtr: Fl NONE
V,       TBEAIMEMIF UNSECURED I{qNI-RIQRITY CR!]!!.LQIII
            A,    Pa1'
                         __   _l85.ll_               rr.nonrh   (Monrhs           26    ro,60      )

                  Pro t'ata dir" dend    rvill be calcr-rlatccl bv the Trr-rstee uporr rervrcr.r,oi'llled                       clairn.s afier bar.clare.
           B fl If'checl<ed' the Debtor(s.) will anrend,'modily to pay 1009o to all allowed                                             unsecurerJ         nonpriorit' clai,ns.
           C SI-PAR{I-III.Y QLASSII.]L]D: E] NONE
           *Debtol'(s) cefiify the
                                   sepa|ate classification(s) of the clairn(s) listecl above will not prc.judice other
                                                                                                                       unsecured nonprrority oreditors
           pursuant ro l  (t  l   S.C    |    1322
VI.      EXECUTORY CQNIRACTSIND UNEXIIBED LE.ASIS: Secured
                                                                                   ctainrs filed by any crettitor/lessor grarrted stay retief in
         this section shall rnot receive a distribution from the chapter lJ l-rustee.
           f NoNi,
vll'     INCOMETAXRW:                                                             fl   NoNe
              I        Debtor(s)wi]l not provide tax returns unless requested by any intelested parfy pufsuant to I I t,.S.C. g
                                                                                                                                            521
              I        rne debtor(s) is herebv advised that the chaptcr l3 trustee         has requesteci that the clebtor(s) comply with 52](f) l-4 on an
                       annual basis during the pendencv o1'this case. l-he debtorts) hereby,acknowleclges that
                                                                                                                           the cleadline for providing the
                       Trustee with their filed tax feturns is on or betbre May' l5 of eaclr
                                                                                                   1,ear the case is pe nding and that the cleblor(s) shall
                       pl oVlde the tlustee (btlt not flle r'vith the Corrrt) rvith veliflcation
                                                                                                 of their clisposabie incorne it'their gross household incornt:
                       increases by t-nore than 39/o over thc previous year''s incorne.
                                                                                                                 {Miarli       oases]
             f,        Debtorls)shall p|ovide copies o1'vear-ly incorne lax retuflls ro [he ]-rurstee (but not tlle with the Court) no later than
                                                                                                                                                  lvlav
                       l5th durirrg the pertdcncv of thc (-haptcr I I case . ln the event the debtor(s)' ciisposable incorne or tax refunds Increase.
                       debtl)r(s) ;hall increase payllrents to ttnseculed creditors over and above pal'ntents provided through the plan up to 100%
                                                                                                                                                        of
                       allowed unsecured claims, IBrorvard/l)alrn Bcach cascs]
VIII.   NO]\:$-}NTIRD.I!A]T PROVISIONS ii] NOrg

                   PROPERTY OF THE EST'A]'E WILL, VEST tN THE DEBTOIT(S) UPON PLAN CONFTRMATION.

 I declare that the foregoin,g chapter l3 pian is tr.ue and correct under penalty of periun,.



                                                 Debtor                                                                                                         ioint Debtor
Sharvn 1'lronrpson                                                          Datc                            \larcen \,lorris                                                             Date




LQr"elg      ttgllt                                    03i 07,20 I 9
  Attornel, with pcrnrission to sign on                                |   )atc
           Debror(s)' behalt'

 It-v filing this docurnent, lhe Attornev for Detrtor(s) or Debtor(s), if no1 representetl
                                                                                           5y counsel, certilies that the wortling and
 order of the provisions in this Chapter lJ plan :rre identical to those containecl in l-ocal F-orm (--hapter lJ plan
                                                                                                                         and t5e plan
 contains no nonstandard provisions other than those set out in parngraph \'lll.

                                                                                         [)rse   ] rt   l
                                                 Case 17-23640-EPK                                               Doc 53                        Filed 03/07/19                               Page 6 of 6                                                      I)age I o1-   |




           \lotlifi c:ttion l,edger                                                                                                                                                                                 March 05,2019




      I)chtors(s): Slr.trt n
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                                            ltorttpsorr   & \latcctr      l\'lort ts                                                                                                                 (   asc        \o.: il:i(j+ir-l:l'l\

      I)ctriror I rlctl                                      I'ri.   Noi    10.   l0 l,r                                    '\ttornc)                  Nanrc                                   l'orruadc              I)   I.crirs-   b-sqLttrc

      lhte Conllrnrcd:                                     Nlon.     Mar    14. 20     lfi                                  Att\        Fec rn I)lan.                                                                            $i.(.)()0 00
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